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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 TEVA BRANDED PHARMACEUTICAL                     )
 PRODUCTS R&D, INC., TEVA                        )
 RESPIRATORY, LLC, NORTON                        )
 (WATERFORD) LIMITED, and NORTON                 )
 HEALTHCARE LIMITED,                             )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       )          C.A. No. 12-1101-GMS
                                                 )          (Consolidated)
 PERRIGO PHARMACEUTICALS CO.,                    )
 PERRIGO CO., and CATALENT                       )
 PHARMA SOLUTIONS, LLC,                          )
                                                 )
                Defendants.                      )


                   AMENDED JOINT CLAIM CONSTRUCTION CHART

        Pursuant to the Amended Scheduling Order entered in this case (D.I. 68 at Appendix A at

 1; D.I. 69), attached as Exhibits A, B, C, and D hereto are the Final Joint Claim Construction

 Charts for U.S. Patent Nos. 7,105,152; 7,566,445; 6,446,627; and 8,132,712, respectively.1



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   The parties respectfully submit this amended joint claim construction chart to correct a
 typographical error contained in the original.
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 Dated: November 8, 2013




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